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                                                                   Peter Cianchetta, SBN: 220971
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                                                                   CIANCHETTA & ASSOCIATES
                                                              3    8788 Elk Grove Blvd., Suite 2A
                                                                   Elk Grove, California 95624
                                                              4    Ph: (916) 685-7878
                                                                   plc@eglaw.net
                                                              5
                                                                   Attorney for Deborah Leigh Miller-Zuranich
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                                                                                          UNITED STATES BANKRUPTCY COURT
                                                              8
                                                                                            EASTERN DISTRICT OF CALIFORNIA
                                                              9
                                                                       In re:                                           Case No. 2019-21640
                                                              10
   CIANCHETTA & ASSOCIATES




                                                              11       Deborah Leigh Miller-Zuranich,                   DCN: PLC-05
                                                                                                                        Chapter 11
                             8788 Elk Grove Blvd., Suite 2A




                                                              12
                                                                                                        Debtor          Hearing Date: NONE
                                 Elk Grove, CA 95624




                                                              13                                                        Hearing Time: NONE
                                                                                                                        Hon. Christopher D. Jaime
                                                              14
                                                                                                                        Courtroom 32 - Dept B
                                                              15

                                                              16
                                                                         DECLARATION IN SUPPORT OF APPLICATION TO EMPLOY COUNSEL
                                                              17
                                                                                                    FOR DEBTOR IN POSSESSION
                                                              18
                                                                       I, Peter Cianchetta, declare:
                                                              19
                                                                           1. I am an attorney duly admitted to practice before all courts of the State of
                                                              20
                                                                                California, as well as this court.
                                                              21
                                                                           2. I have extensive experience in bankruptcy, and debtor/creditor law. I am well
                                                              22
                                                                                qualified to represent the Debtor in Possession herein, and am willing to accept
                                                              23
                                                                                employment on the basis set forth in the application.
                                                              24
                                                                           3.   I do not now, and never have, represented or held any interest adverse to the
                                                              25
                                                                                estate, or the Debtor other than that previously stated, nor to the best of my
                                                              26
                                                                                knowledge do I have any connections, other than stated, with the debtor, creditors
                                                              27
                                                                                or any other party in interest, their respective attorneys and accountants, the U.S.
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                                                              1
                                                                              Trustee or employee of the Office of the U.S. Trustee and that I am a disinterested
                                                              2
                                                                              person within the meaning of 11 U.S.C. Section 327(a), 1103(a) and Bankr.R.Proc.
                                                              3
                                                                              2014(a).
                                                              4
                                                                          4. I do not hold any interest adverse to the above-entitled estate and I am a
                                                              5
                                                                              disinterested person as defined in 11 U.S.C. Section 101(14).
                                                              6
                                                                          5. My hourly rate is $375.00. The rate for paralegal service through my office is
                                                              7
                                                                              $50.00 - 195.00 per hour. I maintain contemporaneous daily time records setting
                                                              8
                                                                              forth the specific dates, services rendered and the time spent.
                                                              9
                                                                          6. On or about July 30, 2019, Debtor and I executed a Fee Agreement to represent
                                                              10
                                                                              her in a Chapter 11 Bankruptcy and respectfully request that I be appointed as of
   CIANCHETTA & ASSOCIATES




                                                              11
                                                                              that date. The Fee Agreement provides for compensation of Peter Cianchetta at
                             8788 Elk Grove Blvd., Suite 2A




                                                              12
                                                                              $375.00 per hour and paralegal and other staff at a rate of $50.00 - 195.00 per
                                 Elk Grove, CA 95624




                                                              13
                                                                              hour. The Fee Agreement calls for a No Deposit into Trust for Attorney Fees and
                                                              14
                                                                              Costs.
                                                              15
                                                                   I declare under penalty of perjury that the foregoing is true and correct. Executed under the
                                                              16
                                                                   laws of the United States and the State of California on August 26, 2019.
                                                              17

                                                              18
                                                                                                                /s/ Peter Cianchetta
                                                              19                                                Peter Cianchetta

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